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IN THE UNITED sTATEs DISTRICT coURT e»@e - .;.i
FoR THE WESTERN DISTRICT or TENNESSEE `J“"‘Z@ “N /:~
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EDWARD TUCKER,
Plaintiff,
vs. No. 04~2968-D/An
JEFF PHIPPS,

Defendant.

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ORDER ASSESSING $150 CIVIL FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Edward Tucker, Tennessee Department of Correction
prisoner number 140105, who was, at the time he commenced this
action, an inmate at the Fayette County Jail (“Jail")1 in Covington,
Tennessee, filed a pro §§ complaint pursuant to 42 U.S.C. § 1983 on
November 26, 2004, along with a motion seeking leave to proceed in
forma pauperis. The Clerk shall record the defendant as anette
County Deputy Jailer Jeff Phipps.

I. Assessment of Filing Fee
Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28

U.S.C. § 1915(b), all prisoners bringing a civil action must pay the

 

1 The word “prison” is used in this order to refer to all places of
confinement or incarceration, including jails, penal farms, detention an
classification facilities, or halfway houses.

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full filing fee of $150 required by 28 U.S.C. § 1914(3).2 The ip §p;m§
pauperis statute, 28 U.S.C. § 1915(a), merely provides the prisoner
the opportunity to make a “downpayment” of a partial filing fee and
pay the remainder in installments.

In this case, plaintiff has properly completed and
submitted an ip fp;ma pauperis affidavit. Although plaintiff has not
submitted an inmate trust fund account statement, he has stated in
his affidavit that the Jail does not neintain inmate trust fund
accounts. As the Sixth Circuit has noted, “[t]he key to the
assessment procedure is the trust account.” McGore v. Wrigglesworth,
114 F.3d 601, 607 (6th Cir. 1997). Where, as here, the prisoner has
submitted an ip fp;ma pauperis affidavit that purports to show that
she has no assets, and the Jail does not maintain inmate trust fund
accounts, there appears to be no practicable way for the Court to
implement the PLRA.3Nonetheless, because the PLRA does not permit the
plaintiff to proceed ip fp;ma pgppp;i§, plaintiff remains obligated
to pay the filing fee in the event he is transferred to an
institution that maintains inmate trust fund accounts.4

Pursuant to 28 U.S.C. § 1915(b)(1), it is ORDERED that the

plaintiff cooperate fully with prison officials in carrying out this

 

2 Although the civil filing fee was increased to $250 effective March
7, 2005, plaintiff is only liable for the former $150 fee because this action was
filed prior to that date.

3 Under these circumstances, the Court will proceed to screen
plaintiff’s complaint pursuant to 28 U.S.C. §§ l915{e)(2)(B) and 1915A(b). §f;
McGore, 114 F.3d at 606 (where a prisoner has no funds in his trust fund account,
the district court should assess the filing fee and let the case proceed to
screening).

4 A transfer is apparently likely in this case, as the Court understands
the plaintiff is serving a sentence in TDOC custody.

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order. lt is further ORDERED that the trust fund officer at
plaintiff's prison shall calculate a partial initial filing fee equal
to twenty percent (20%) of the greater of the average balance in or
deposits to the plaintiff’s trust fund account for the six months
immediately preceding' the completion of the affidavit. When, the
account contains any funds, the trust fund officer shall collect them
and pay them, directly to the Clerk of Court. If the funds in
plaintiff's account are insufficient to pay the full amount of the
initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiff's account and forward them
to the Clerk of Court. On each occasion that funds are subsequently
credited to plaintiff’s account the prison official shall immediately
withdraw those funds and forward them to the Clerk of Court, until
the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from each
plaintiff’s account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
that plaintiff’s account during the preceding month, but only when
the amount in the account exceeds $10.00, until each plaintiff's
share of the $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk

along with the payment.

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All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 16? N. Main, Room 242, Memphis, TN 38103

and shall clearly identify the plaintiff’s name and the case number
on the first page of this order.

If a plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of her change
of address. If still confined, he shall provide the officials at the
new prison with a copy of this order.

lf` a plaintiff fails» to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine,r without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the Fayette
County sheriff and to the Fayette County Jail Administrator.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2).
The Clerk shall not issue process or serve any papers in this case.
ll. Analysis of Plaintiffs' Claims

The factual allegations of the complaint consist, in their
entirety, of the statement that, on November 11, 2004, he was
returned to a holding cell and refused medical care by the defendant.
The plaintiff seeks monetary damages.

The Court is required to screen prisoner complaints and to
dismiss any complaint, or any portion thereof, if the complaint-

(1) is frivolous, malicious, or fails to state a
claim upon which relief may be granted; or

(2) seeks monetary relief from a defendant who is
immune from such relief.

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28 U.S.C. § 1915A(b); see also 28 U.S.C. § 1915(e){2)(B). Plaintiff’s

 

complaint is subject to dismissal in its entirety.5

The complaint does not state an Eighth Amendment claim.6 The

Eighth Amendment prohibits cruel and unusual punishment. See

 

generally Wilson v. Seiter, 501 U.S. 294 (1991). An Eighth Amendment

claim consists of both objective and subjective components. Farmer v.

 

Brennan, 511 U.S. 825, 834 (1994); Hudson v. McMillian, 503 U.S. 1,
8 (1992); Wilson, 501 U.S. at 298; Brooks v. Celeste, 39 F.3d 125,
127-28 (6th Cir. 1994); Hunt v. Reynolds, 974 F.2d 734, 735 (6th Cir.
1992). The objective component requires that the deprivation_ be
“sufficiently serious.” Farmer, 511 U.S. at 834; Hudson, 503 U.S. at
8; Wilson, 501 U.S. at 298. The subjective component requires that
the official act with the requisite intent, that is, that he have a
“sufficiently culpable state of mind.” §§pmp;, 511 U.S. at 834;
Wilson, 501 U.S. at 297, 302-03. The official’s intent must rise at

least to the level of deliberate indifference. Farmer, 511 U.S. at

834; Wilson, 501 U.S. at 303.

 

5 Although the Court ordinarily would consider, as a threshold matter,
whether the plaintiff exhausted his administrative remedies as required by 42
U.S.C. § 1997e(a), in this case the plaintiff has alleged that the Jail does not
maintain an inmate grievance mechanism.

6 Convicted inmates' rights stem.from the Eighth Amendment, while pre-
trial detainees' rights stem from the Fourteenth Amendment. Ihpmp§pp_y;q§ppp;y
of Medina, 29 F.3d 238, 242 (6th Cir. 1994); Roberts v. Citv of Trov, 773 F.Zd
720, 723 (6th Cir. 1985). The scope of a detainee's Fourteenth Amendment rights
are equivalent to that of a convicted inmate under the Eighth Amendment. Thom son,
29 F.3d at 242; Roberts, 773 F.2d at 723; see also Rankin v. Klevenhaqen, 5 F.3d
103, 107 (5th Cir. 1993); Valencia v. Wi ins, 981 F.2d 1440, 1446 (5th Cir.
1993). See generally Graham v. Connor, 490 U.S. 386, 395 n.10 (1989); Vineyard
v. County of Murray, 990 F.2d 1207, 1211-12 (llth Cir. 1993); Gilland v. Owens,
718 F. Supp. 665, 682-83 (W.D. Tenn, 1989). In this case, it is not clear whether
the plaintiff was a pretrial detainee at the time of the incident in question.
As the scope of his rights are equivalent in any event, the Court will analyze
his claims under Eighth Amendment principles.

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The Eighth Amendment proscription of cruel and unusual
punishment prohibits prison authorities from displaying deliberate
indifference to the serious medical needs of prisoners, because such
indifference constitutes the “unnecessary and wanton infliction of
pain.” Estelle v. Gamble, 429 U.S. 97, 104 (1976). Thus a claim for
denial of medical care under Estelle consists of both an objective
and a subjective component: the seriousness of the medical need
(objective component) and the deliberate indifference of the prison
authorities (subjective component).

“A medical need is serious if it is one that has been
diagnosed by a physician as mandating treatment or one that is so
obvious that even a lay person would easily recognize the necessity
for a doctor’s attention.” Bamp§_yp_lamm, 639 F.2d 559, 575 (10th
Cir. 1980) (quoting Laaman v. Helgemoe, 437 F. Supp. 269, 311 (D.N.H.
1977)).

To establish deliberate indifference the inmate must show
that the prison official “knows of and disregards an excessive risk
to inmate health or safety; the official must both be aware of facts

from which the inference could be drawn that a substantial risk of

serious harm exists, and he must also draw the inference.” Farmer,
511 U.S. at 837. “[D]eliberate indifference describes a state of mind

more blameworthy than negligence.” ld. at 835. Thus,

[al prison official cannot be found liable under the Eighth
Amendment for denying an inmate humane conditions of
confinement unless the official knows of and disregards an
excessive risk to inmate health or safety; the official
must both be aware of facts from which the inference could
be drawn that a substantial risk of serious harm exists,
and he must also draw the inference. This approach comports
best with the text of the Eighth Amendment as our cases
have interpreted it. The Eighth Amendment does not outlaw
cruel and unusual “conditions”; it outlaws cruel and

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unusual “punishments.” An act or omission unaccompanied by
knowledge of` a significant risk of harn\ might well be
something society wishes to discourage, and if harm does
result society might well wish to assure compensation. The
common law reflects such concerns when it imposes tort
liability on a purely objective basis. . . . But an
official’s failure to alleviate a significant risk that he
should have perceived but did not, while no cause for
commendation, cannot under our cases be condemned as the
infliction of punishment.

ldp at 837~38 (emphasis added; citations omitted).

The allegations of the plaintiff's complaint are
insufficient to establish either the objective or the subjective
component of an Eighth Amendment violation. The complaint sets forth
no facts indicating that the plaintiff suffered from7 a serious
medical condition on November 11, 2004. The complaint also does not
allege that the plaintiff made his condition known to defendant
Phipps, or that his conditions would have been obvious to Phipps.
Finally, the complaint does not allege that the plaintiff suffered
any injury as a result of the failure to provide him with medical
care on November 11, 2004.7

The Court therefore DlSMlSSES the complaint, pursuant to 28
U.S.C. §§ 1915(e)(2)(B)(ii) and 1915A(b)(1), for failure to state a

claim upon which relief can be granted.

 

7 The Court ordinarily would order the plaintiff to amend his complaint
to cure these deficiencies. Such a course is, however, unavailable when a Court
is screening a complaint pursuant to 28 U.S.C. § l915(e)(2)(B). Baxter v. Roser
305 F.3d 486, 488-89 (6th Cir. 2002) (holding that an inmate may not amend his
complaint to cure a failure to plead exhaustion; “The bar on amendment similarly
serves the purpose of the heightened pleading requirement, permitting courts to
assess the fundamental7 viability of the clainl on the basis of the initial
complaint. The possibility of amendment undermines the screening process,
preventing courts from efficiently evaluating whether the plaintiff met the
exhaustion requirement.”); McGore, 114 F.3d at 612. Under these circumstances,
the appropriate course is to dismiss the complaint without prejudice to the
plaintiff's right to commence a new action concerning the same subject matter.

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lll. Appeal lssues

The next issue to be addressed is whether plaintiff should
be allowed to appeal this decision ip fp;ma pauperis. Twenty-eight
U.S.C. § l9l5(a)(3) provides that an appeal may not be taken in fp;ma
pauperis if the trial court certifies in writing that it is not taken
in good faith.

The good faith standard is an objective one. §ppppdgp*yp
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in

 

good faith if the issue presented is frivolous. ldp Accordingly, it
would. be inconsistent for‘ a district court to determine that a
complaint should be dismissed prior to service on the defendant, yet
has sufficient merit to support an appeal ip forma pauperis. See
Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same
considerations that lead the Court to dismiss this case also compel
the conclusion that an appeal would not be taken in good faith.

lt is therefore CERTlFlED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not taken
in good faith and plaintiff may not proceed on appeal ip fp;ma
pauperis.

The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.a ln McGore

v. Wrigglesworth, 114 F.3d at 610-11, the Sixth Circuit set out

 

8 Effective November l, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court,r by the appellant
or petitioner.

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specific procedures for implementing the PLRA. Therefore, the
plaintiff is instructed that if he wishes to take advantage of the
installment procedures for paying the appellate filing fee, he must
comply with the procedures set out in McGore and § 1915(b).

For analysis under 28 U.S.C. § 1915(g) of future filings,
if any, by this plaintiff, this is the first dismissal in this
district of one of his cases for failure to state a claim or as
frivolous.

ll lS SO ORDERED this §§J;J%day of April, 2005.

 

BE ICE . ONALD
UNI ED STATES DlSTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02968 Was distributed by fax, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

Edward Tucker

FAYETTE COUNTY JAIL
P.O. Box 219

Somerville, TN 38068

Honorable Bernice Donald
US DISTRICT COURT

